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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA


Georgia Voter Alliance, John Wood,                                    Case 20-cv-4198 - LMM

                       Plaintiffs,
 vs.
                                                     Voluntary Dismissal Without
 Fulton County,                                           Prejudice Pursuant to
                                                  Rule of Civil Procedure 41(a)(1)(A)(i)
                       Defendant.



       The Plaintiffs Georgia Voter Alliance and John Wood, through their undersigned

attorneys, voluntary dismiss this lawsuit without prejudice pursuant to Rule of Civil

Procedure 41(a)(1)(A)(i).

 Dated: November 4, 2020                         Electronically signed by /s/ Erick G. Kaardal
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